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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 WESTERN DISTRICT OF TEXAS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:        Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
      Write the name that is on your
                                       Federico                                               Sonia
      government-issued picture
                                       First Name                                             First Name
      identification (for example,
      your driver's license or
      passport).                       Middle Name                                            Middle Name

                                       Cortez                                                 Garcia-Anaya
      Bring your picture               Last Name                                              Last Name
      identification to your meeting   Jr
      with the trustee.                Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.    All other names you              Federico
      have used in the last 8          First Name                                             First Name
      years
                                       Middle Name                                            Middle Name
      Include your married or
                                       Cortez, Jr.
      maiden names.
                                       Last Name                                              Last Name


3.    Only the last 4 digits of
      your Social Security             xxx – xx –                   6        8       4    2   xxx – xx –                   0         0        2      5
      number or federal                OR                                                     OR
      Individual Taxpayer
      Identification number            9xx – xx –                                             9xx – xx –
      (ITIN)




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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                              Case number (if known)

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.    Any business names                     I have not used any business names or EINs.                 I have not used any business names or EINs.
      and Employer
      Identification Numbers         FSC Enterprises                                              Heroes for hire Comics and cards, LLC
      (EIN) you have used in         Business name                                                Business name
      the last 8 years
                                     Business name                                                Business name
      Include trade names and
      doing business as names
                                     Business name                                                Business name

                                                  –                                                           –
                                     EIN                                                          EIN

                                                  –                                                           –
                                     EIN                                                          EIN
5.    Where you live                                                                              If Debtor 2 lives at a different address:

                                     1501 Lomaland
                                     Number       Street                                          Number      Street

                                     Apt #124




                                     El Paso                         TX       79935
                                     City                            State    ZIP Code            City                           State    ZIP Code

                                     El Paso
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                            State    ZIP Code            City                           State    ZIP Code


6.    Why you are choosing           Check one:                                                   Check one:
      this district to file for
      bankruptcy                             Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:        Tell the Court About Your Bankruptcy Case

7.    The chapter of the            Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you           for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                                 Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13



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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                       Case number (if known)

8.    How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                No
      bankruptcy within the
      last 8 years?                     Yes.

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it as part of this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                        Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?
                                                Heroes for Hire Comics and Cards, LLC
    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a                    600 S. Stanton
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.
                                                El Paso                                                 TX              79901
    If you have more than one                   City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    debtor or a debtor as            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    defined by 11 U.S.C.
    § 1182(1)?                            No.   I am not filing under Chapter 11.
    For a definition of small
                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    business debtor, see
                                                the Bankruptcy Code.
    11 U.S.C. § 101(51D).
                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State          ZIP Code




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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                          Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                        Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                         Case number (if known)


 Part 7:      Sign Below
For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                   and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                   or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                   proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                   fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                   connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                   or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                   X /s/ Federico Cortez, Jr                                   X /s/ Sonia Garcia-Anaya
                                      Federico Cortez, Jr, Debtor 1                               Sonia Garcia-Anaya, Debtor 2

                                      Executed on 03/09/2022                                      Executed on 03/09/2022
                                                  MM / DD / YYYY                                              MM / DD / YYYY




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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                        Case number (if known)

For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ Karla P. Griffin                                                Date 03/09/2022
                                      Signature of Attorney for Debtor                                        MM / DD / YYYY


                                      Karla P. Griffin
                                      Printed name
                                      Karla P. Griffin Law Firm, PC
                                      Firm Name
                                      1123 E. Rio Grande
                                      Number          Street




                                      El Paso                                                    TX              79902
                                      City                                                       State           ZIP Code


                                      Contact phone (915) 562-4357                     Email address


                                      24074659
                                      Bar number                                                 State




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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 Fill in this information to identify your case and this filing:
 Debtor 1              Federico                                          Cortez, Jr
                       First Name               Middle Name              Last Name

 Debtor 2            Sonia                                               Garcia-Anaya
 (Spouse, if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                   Check if this is an
 (if known)
                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                        12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2.
           Yes. Where is the property?

2.    Add the dollar value of the portion you own for all of your entries from Part 1, including any
      entries for pages you have attached for Part 1. Write that number here.............................................................                     $0.00


 Part 2:         Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

          No
          Yes

3.1.                                                    Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Chevy                        Check one.                                          amount of any secured claims on Schedule D:
                                                             Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Silverado
                                                             Debtor 2 only                           Current value of the                   Current value of the
Year:                      2016                                                                      entire property?                       portion you own?
                                                             Debtor 1 and Debtor 2 only
Approximate mileage:                                         At least one of the debtors and another            $14,613.00                               $14,613.00
Other information:
2016 Chevy Silverado                                         Check if this is community property
                                                             (see instructions)
3.2.                                                    Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Nissan                       Check one.                                          amount of any secured claims on Schedule D:
                                                             Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Sentra
                                                             Debtor 2 only                           Current value of the                   Current value of the
Year:                      2012
                                                             Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                         At least one of the debtors and another             $2,800.00                                $2,800.00
Other information:
2012 Nissan Sentra                                           Check if this is community property
                                                             (see instructions)




Official Form 106A/B                                                  Schedule A/B: Property                                                                  page 1
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                                  Case number (if known)

4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $17,413.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Household goods and furnishings                                                                                       $4,500.00


7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Electronics                                                                                                           $3,000.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............


9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............
                               AK Pistol                                                                                                             $8,000.00
                                AR15
                                9 mm handgun
                                50 Caliber handgun
                                6.5 Rifle
                                Uzi
                                22 Riffle

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Clothes                                                                                                                 $300.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Federico Cortez, Jr
Debtor 2          Sonia Garcia-Anaya                                                                                            Case number (if known)

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                1 Dog                                                                                                                                                                   $20.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                            $15,820.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                  Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                     Cash: ........................................... $5,000.00
            Yes.....................................................................................................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                 Institution name:

             17.1.       Checking account:                    FirstLight                                                                                                                              $100.00
             17.2.       Checking account:                    Stash                                                                                                                                       $6.00

             17.3.       Savings account:                     FirstLight                                                                                                                                $40.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                    Schedule A/B: Property                                                                                              page 3
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                                Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:

                                           IRA:                     Stash                                                                         $30.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                   page 4
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Debtor 1        Federico Cortez, Jr
Debtor 2        Sonia Garcia-Anaya                                                          Case number (if known)

Money or property owed to you?                                                                                                  Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information Federal: 2021 Tax Refund. Amt: $3,169.00                                   Federal:             $3,169.00
           about them, including whether
           you already filed the returns                                                                             State:                    $0.00
           and the tax years.....................................
                                                                                                                     Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                     Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............


35. Any financial assets you did not already list

           No
           Yes. Give specific information



Official Form 106A/B                                            Schedule A/B: Property                                                          page 5
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                                                  Case number (if known)

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $8,345.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............


44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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Debtor 1          Federico Cortez, Jr
Debtor 2          Sonia Garcia-Anaya                                                                                 Case number (if known)


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Federico Cortez, Jr
Debtor 2           Sonia Garcia-Anaya                                                                                         Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................            $0.00

56. Part 2: Total vehicles, line 5                                                                                  $17,413.00

57. Part 3: Total personal and household items, line 15                                                             $15,820.00

58. Part 4: Total financial assets, line 36                                                                           $8,345.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $41,578.00              property total                 +          $41,578.00



63. Total of all property on Schedule A/B.                                                                                                                                                    $41,578.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                    page 8
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 Fill in this information to identify your case:
 Debtor 1            Federico                                    Cortez, Jr
                     First Name           Middle Name            Last Name
 Debtor 2            Sonia                                       Garcia-Anaya
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you       exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                         $14,613.00                   $500.00           11 U.S.C. § 522(d)(2)
2016 Chevy Silverado                                                              100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.1
                                                                                  applicable statutory
                                                                                  limit

Brief description:                                          $2,800.00                  $2,800.00          11 U.S.C. § 522(d)(2)
2012 Nissan Sentra                                                                100% of fair market
                                                                                  value, up to any
Line from Schedule A/B:      3.2
                                                                                  applicable statutory
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $4,500.00                $4,500.00          11 U.S.C. § 522(d)(3)
Household goods and furnishings                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,000.00                $3,000.00          11 U.S.C. § 522(d)(3)
Electronics                                                                  100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $8,000.00                $8,000.00          11 U.S.C. § 522(d)(5)
AK Pistol                                                                    100% of fair market
AR15                                                                         value, up to any
9 mm handgun                                                                 applicable statutory
50 Caliber handgun                                                           limit
6.5 Rifle
Uzi
22 Riffle
Line from Schedule A/B:    10

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(3)
Clothes                                                                      100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $20.00                    $20.00           11 U.S.C. § 522(d)(3)
1 Dog                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,000.00                $5,000.00          11 U.S.C. § 522(d)(5)
Cash                                                                         100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(5)
FirstLight                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $6.00                     $6.00           11 U.S.C. § 522(d)(5)
Stash                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.2
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                     Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $40.00                    $40.00           11 U.S.C. § 522(d)(5)
FirstLight                                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.3
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $30.00                    $30.00           11 U.S.C. § 522(d)(10)(E)
Stash                                                                        100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,169.00                $3,169.00          11 U.S.C. § 522(d)(5)
2021 Tax Refund                                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    28
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
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  Fill in this information to identify your case:
  Debtor 1             Federico                                     Cortez, Jr
                       First Name            Middle Name            Last Name

  Debtor 2            Sonia                                         Garcia-Anaya
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $14,113.00              $14,613.00
Pentagon Federal credit Union
Creditor's name
                                                 2016 Chevy Silverado
Attn: Bankruptcy
Number       Street
PO Box 1432
                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Alexandria               VA      22313               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Automobile
   to a community debt
Date debt was incurred           02/2021         Last 4 digits of account number        6     9    6    5




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $14,113.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                             $14,113.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
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  Fill in this information to identify your case:
  Debtor 1             Federico                                     Cortez, Jr
                       First Name            Middle Name            Last Name

  Debtor 2            Sonia                                         Garcia-Anaya
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1                                                                                                $4,100.00           $4,100.00                $0.00
Karla P. Griffin Law Firm, P.C.
Priority Creditor's Name                                   Last 4 digits of account number
1123 E. Rio Grande                                         When was the debt incurred?          03/01/2022
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
El Paso                         TX      79902                  Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?                                Attorney fees for this case
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                               Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                               $0.00
Brand Source/Citi Bank                                      Last 4 digits of account number         2 7 3            1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           09/25/2014
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 6403                                                     Contingent
                                                                Unliquidated
                                                                Disputed
Sioux Falls                     SD      57117
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Charge Account
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                               $0.00
Brazos Education Foundation                                 Last 4 digits of account number         0 0 0            1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           09/19/2007
Attn: Bankruptcy
Number        Street                                        As of the date you file, the claim is: Check all that apply.
2600 Washington Ave                                             Contingent
                                                                Unliquidated
                                                                Disputed
Waco                            TX      76710
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Educational
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.3                                                                                                                           $20,705.00
Chase Card Services                                      Last 4 digits of account number      1 5 4           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/03/2020
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. 15298                                                   Contingent
                                                             Unliquidated
                                                             Disputed
Wilmington                    DE      19850
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                             $4,665.00
Citibank/The Home Depot                                  Last 4 digits of account number      1 0 0           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/09/2015
Citicorp Credit Srvs/Centralized Bk dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                Contingent
                                                             Unliquidated
                                                             Disputed
St Louis                      MO      63179
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                 $0.00
Citizens State Bank/fl                                   Last 4 digits of account number      1 2        1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2015
P O Box 143060
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Gainesville                   FL      32614
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Home Improvement
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.6                                                                                                                                 $0.00
Comenity Bank/Pier 1                                     Last 4 digits of account number      7 0        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 182125                                                Contingent
                                                             Unliquidated
                                                             Disputed
Columbus                      OH      43218
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                 $0.00
Conn's HomePlus                                          Last 4 digits of account number      7 0        3    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/2015
2445 Technology Forest Boulevard
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Building 4, Suite 800                                        Contingent
                                                             Unliquidated
                                                             Disputed
The Woodlands                 TX      77381
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Secured
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                               $333.00
Credit Systems International, Inc                        Last 4 digits of account number      6 1        1    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 1088                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Arlington                     TX      76004
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Collection Attorney
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

   4.9                                                                                                                                 $0.00
Freedom Plus                                             Last 4 digits of account number      9 6 5           1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        06/25/2019
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 2340                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Phoenix                       AZ      85002
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             $8,228.00
GECU                                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2013
PO Box 20998
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
El Paso                       TX      79998-0998
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                 $0.00
Liftfund                                                 Last 4 digits of account number      5 1 7           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/19/2021
2007 W Martin St
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
San Antonio                   TX      78207
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unknown Loan Type
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.12                                                                                                                                 $0.00
Loancare, Cit Bank,                                      Last 4 digits of account number      9 9 7           0
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/13/2015
Attn: Consumer Solutions Dept
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 8068                                                  Contingent
                                                             Unliquidated
                                                             Disputed
Virginia Beach                VA      23452
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Conventional Real Estate Mortgage
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                 $0.00
Macys/fdsb                                               Last 4 digits of account number      5 4 6           5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        07/01/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
9111 Duke Boulevard                                          Contingent
                                                             Unliquidated
                                                             Disputed
Mason                         OH      45040
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                           $30,324.00
Nelnet                                                   Last 4 digits of account number      0 0        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2007
Attn: Bankruptcy Claims
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 82505                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.15                                                                                                                           $27,153.00
Nelnet                                                   Last 4 digits of account number      0 1        4    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        09/2007
Attn: Bankruptcy Claims
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 82505                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Lincoln                       NE      68501
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Educational
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                             Unknown
Quick Bridge Funding                                     Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
410 Exchange Suite 150
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Irvine                        CA      92602
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                 $0.00
Regional Finance                                         Last 4 digits of account number      5 9        1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2021
979 Batesville Rd
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Greer                         SC      29651
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Unsecured
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.18                                                                                                                             Unknown
Superior Court of California                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
700 Civic Center Dr West
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                             Contingent
                                                             Unliquidated
                                                             Disputed
Santa Ana                     CA      92701
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Lawsuit
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                             $9,325.00
Syncb/At Home CC                                         Last 4 digits of account number      3 1        0    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        08/2018
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                             $1,612.00
Syncb/Harbor Freight                                     Last 4 digits of account number      6 4        8    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2021
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.21                                                                                                                             $8,682.00
Syncb/JCI Home Design                                    Last 4 digits of account number      7 4        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                             $8,873.00
Synchrony Bank                                           Last 4 digits of account number      1 4        7    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        05/2021
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                           $12,123.00
Synchrony Bank/Amazon                                    Last 4 digits of account number      4 0        2    3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        10/2011
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.24                                                                                                                             $4,319.00
Synchrony Bank/hhgregg                                   Last 4 digits of account number      9 3        7    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2021
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                             $2,898.00
Synchrony Bank/Sams Club                                 Last 4 digits of account number      0 3        0    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        04/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                Contingent
                                                             Unliquidated
                                                             Disputed
Orlando                       FL      32896
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Card
Is the claim subject to offset?
     No
     Yes

  4.26                                                                                                                                 $0.00
US Bank                                                  Last 4 digits of account number      7 0        1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?        03/2017
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
P.O. Box 5229                                                Contingent
                                                             Unliquidated
                                                             Disputed
Cincinnati                    OH      45201
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Automobile
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 10
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                          Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                Total claim
previous page.

  4.27                                                                                                                                 $0.00
Wells Fargo Bank NA                                      Last 4 digits of account number      9 5 3           4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        12/05/2015
Attn: Wells Fargo Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
435 Ford Road, Suite 300                                     Contingent
                                                             Unliquidated
                                                             Disputed
Saint Lewis Park              MN      55426
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                                 $0.00
Wells Fargo Jewelry Advantage                            Last 4 digits of account number      6 5 3           3
Nonpriority Creditor's Name
                                                         When was the debt incurred?        01/08/2016
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 10438                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Des Moines                    IA      50306
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Charge Account
Is the claim subject to offset?
     No
     Yes

  4.29                                                                                                                                 $0.00
Westlake Portfolio Management, LLC                       Last 4 digits of account number      0 2 9           7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        02/15/2012
Attn: Bankruptcy
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 76809                                                 Contingent
                                                             Unliquidated
                                                             Disputed
Los Angeles                   CA      90054
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Automobile
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 11
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                       Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +          $4,100.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.              $4,100.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +        $139,240.00


                   6j.   Total.   Add lines 6f through 6i.                                            6j.            $139,240.00




Official Form 106E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                      page 12
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 Fill in this information to identify your case:
 Debtor 1            Federico                                    Cortez, Jr
                     First Name           Middle Name            Last Name

 Debtor 2            Sonia                                       Garcia-Anaya
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1             Federico                                           Cortez, Jr
                      First Name             Middle Name                 Last Name

 Debtor 2            Sonia                                               Garcia-Anaya
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?          (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
               In which community state or territory did you live?                   Texas     Fill in the name and current address of that person.

               Sonia Garcia-Anaya
               Name of your spouse, former spouse, or legal equivalent
               1501 Lomaland
               Number        Street
               Apt #124
               El Paso                                         TX              79935
               City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                              Schedule H: Your Codebtors                                                            page 1
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 Fill in this information to identify your case:
     Debtor 1              Federico                                    Cortez, Jr
                           First Name           Middle Name            Last Name                            Check if this is:
     Debtor 2              Sonia                                       Garcia-Anaya                              An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                 A supplement showing postpetition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF TEXAS
                                                                                                                 chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                 MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                            Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                            Employed
      with information about                                          Not employed                                        Not employed
      additional employers.
                                        Occupation             Consumer Affairs                                    Self-employed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Slashsupport, Inc                                   Heroes for Hire Comics and cards

      Occupation may include            Employer's address     5600 Tennyson Pkwy                                  600 S. Stanton
      student or homemaker, if it                              Number Street                                       Number Street
      applies.
                                                               Suite 255




                                                               Plano                         TX       75024-4039El Paso                   TX      79901
                                                               City                          State    Zip Code     City                   State   Zip Code

                                        How long employed there?        1 Months                                           6 Months

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                             For Debtor 1            For Debtor 2 or
                                                                                                                     non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                   $2,614.63                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                       3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                  4.               $2,614.63                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                 page 1
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Debtor 1        Federico Cortez, Jr
Debtor 2        Sonia Garcia-Anaya                                                                                               Case number (if known)
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $2,614.63            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $245.66                  $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                  $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                  $0.00
     5e. Insurance                                                                                          5e.                $0.00                  $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                  $0.00
     5g. Union dues                                                                                         5g.                $0.00                  $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $245.66                  $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,368.97                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.              $486.00                  $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.               $486.00                  $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,854.97 +             $0.00 =                                                   $2,854.97
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $2,854.97
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Business is not proffitable.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                                    Case number (if known)


1.   Additional Employers Debtor 1                                          Debtor 2 or non-filing spouse

     Occupation           Self-employed
     Employer's name      Heroes for Hire Comics and cards
     Employer's address   600 S. Stanton


                          El Paso                   TX       79901
                          City                      State    Zip Code       City                            State   Zip Code
     How long employed there?        6 Months




Official Form 106I                                Schedule I: Your Income                                                  page 3
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Debtor 1     Federico Cortez, Jr
Debtor 2     Sonia Garcia-Anaya                                        Case number (if known)

8a. Attached Statement (Debtor 1)

                                    Heroes for Hire Comics and cards, LLC

Gross Monthly Income:                                                                           $4,789.00

Expense                                        Category                               Amount

Cost of goods sold                             Cost of Goods Sold                  $1,596.00
Taxes                                          Taxes                                $479.00
Printing                                       Operating Expenses                   $233.00
Tech                                           Operating Expenses                     $98.00
Utilities/Rent                                 Rent                                $1,862.00
Supplies                                       Office Supplies                        $35.00
Total Monthly Expenses                                                                          $4,303.00

Net Monthly Income:                                                                              $486.00




Official Form 106I                           Schedule I: Your Income                               page 4
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Federico                                      Cortez, Jr                          An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Sonia                                         Garcia-Anaya
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Nephew                              13
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,026.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                       Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $94.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $40.00
         cable services
     6d. Other. Specify:      Cell Phones                                                           6d.                   $167.00
7.   Food and housekeeping supplies                                                                 7.                    $650.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.

11. Medical and dental expenses                                                                     11.

12. Transportation. Include gas, maintenance, bus or train                                          12.                   $212.97
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.                  $160.00
     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1                                                              17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                               Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $2,349.97
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $2,349.97

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $2,854.97
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $2,349.97
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.        $505.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
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 Fill in this information to identify your case:
 Debtor 1                Federico                                                    Cortez, Jr
                         First Name                    Middle Name                   Last Name

 Debtor 2            Sonia                                                           Garcia-Anaya
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)

     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................             $0.00


                                                                                                                                                                         $41,578.00
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                              $41,578.00
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                            $14,113.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $4,100.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +               $139,240.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $157,453.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $2,854.97
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $2,349.97




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                           Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $567.34


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Federico                                 Cortez, Jr
                    First Name          Middle Name          Last Name

 Debtor 2            Sonia                                   Garcia-Anaya
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ Federico Cortez, Jr                              X /s/ Sonia Garcia-Anaya
        Federico Cortez, Jr, Debtor 1                         Sonia Garcia-Anaya, Debtor 2

        Date 03/09/2022                                       Date 03/09/2022
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1            Federico                                     Cortez, Jr
                     First Name              Middle Name          Last Name

 Debtor 2            Sonia                                        Garcia-Anaya
 (Spouse, if filing) First Name              Middle Name          Last Name


 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                          04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                          Dates Debtor 1       Debtor 2:                                        Dates Debtor 2
                                                           lived there                                                           lived there
                                                                                       Same as Debtor 1                               Same as Debtor 1


        1120 Hawaii St.                                    From     2015                                                         From
        Number      Street                                                      Number      Street
                                                           To       2021                                                         To


        El Paso                   TX       79915
        City                      State    ZIP Code                             City                      State   ZIP Code


3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                        Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,       $3,037.05 (est.)      Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $53,848.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2021 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,          $118,899.00        Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2020 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                           Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Freedom Plus                                                                    $13,000.00                                  Mortgage
Creditor's name                                                                                                             Car
                                                              12/2021
1875 South Grant St.                                                                                                        Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
San Mateo                           CA       94402                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Lift Fund                                                                        $7,000.00           $6,195.00              Mortgage
Creditor's name                                                                                                             Car
                                                              12/2021
2007 W. Martin St.                                                                                                          Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
San Antonio                         TX       78207                                                                          Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Regional Finance                                                                 $2,000.00                                  Mortgage
Creditor's name                                                                                                             Car
                                                              12/2021
979 Batesville Rd.                                                                                                          Credit card
Number     Street
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Greer                               SC       29651                                                                          Other
City                                State    ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                            Case number (if known)

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.

                                                             Dates of       Total amount          Amount you          Reason for this payment
                                                             payment        paid                  still owe
Edna - Friend                                                                   $2,000.00                             Living Expenses
Insider's name
                                                             12/2021
Number       Street




City                               State    ZIP Code


8.     Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
       benefited an insider?
       Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

  Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.     Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
       List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
       modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                  Nature of the case                          Court or agency                               Status of the case
Breach of Contract                          Quick Bridge Funding                        Superior Court of California
                                                                                                                                                Pending
                                            vs                                          Court Name
                                            Federico Cortez, Jr                         700 Civic Center Drive West                             On appeal
                                                                                        Number     Street
Case number 30-2022-01240513                                                                                                                    Concluded

                                                                                        Santa Ana                  CA      92701
                                                                                        City                       State   ZIP Code




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                        Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:          List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

 Part 6:          List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 5
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                           Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment         Amount of
Karla P. Griffin Law Firm, P.C.                                                                                 or transfer was      payment
Person Who Was Paid                                                                                             made

1123 E. Rio Grande                                                                                                 03/01/2022              $0.00
Number      Street




El Paso                       TX       79902
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                     Description and value of any            Describe any property or payments          Date transfer
Marcela Rios                                         property transferred                    received or debts paid in exchange         was made
Person Who Received Transfer                                                                                                               12/2021
1120 Hawaii St.
Number      Street




El Paso                       TX       79915
City                          State    ZIP Code

Person's relationship to you Third Party

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1       Federico Cortez, Jr
Debtor 2       Sonia Garcia-Anaya                                                       Case number (if known)

 Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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Debtor 1          Federico Cortez, Jr
Debtor 2          Sonia Garcia-Anaya                                                              Case number (if known)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

              No
              Yes. Fill in the details.

  Part 11:          Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.
              Yes. Check all that apply above and fill in the details below for each business.

                                                    Describe the nature of the business                 Employer Identification number
Heroes for hire Comics & Cards                      Comics & cards sales                                Do not include Social Security number or ITIN.
Business Name
                                                                                                        EIN: 8     7 – 4         0    7    0   4    3    3
600 S. Stanton                                      Name of accountant or bookkeeper
Number        Street
                                                    Self                                                Dates business existed

                                                                                                        From       8/2020            To   Present
El paso                      TX      79901
City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ Federico Cortez, Jr                                       X /s/ Sonia Garcia-Anaya
       Federico Cortez, Jr, Debtor 1                                Sonia Garcia-Anaya, Debtor 2

       Date       03/09/2022                                        Date      03/09/2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $78    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $338    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $571    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,738    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2
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        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $78   administrative fee
                                                                After you make all the payments under your plan, many
        $278   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $78    administrative fee
                                                                     most criminal fines and restitution obligations,
          $313    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3
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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/forms/bankruptcy-forms                counseling briefing from an approved credit counseling
                                                                agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://www.uscourts.gov/services-
    U.S. Trustee, the Office of the U.S. Attorney, and          forms/bankruptcy/credit-counseling-and-debtor-
    other offices and employees of the U.S. Department          education-courses.
    of Justice.
                                                                In Alabama and North Carolina, go to:
                                                                http://www.uscourts.gov/services-
Make sure the court has your mailing                            forms/bankruptcy/credit-counseling-and-debtor-
                                                                education-courses.
address

The bankruptcy court sends notices to the mailing address       If you do not have access to a computer, the clerk of the
you list on Voluntary Petition for Individuals Filing for       bankruptcy court may be able to help you obtain the list.
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             WESTERN DISTRICT OF TEXAS
                                                                   EL PASO DIVISION
In re Federico Cortez, Jr                                                                                                           Case No.
      Sonia Garcia-Anaya
                                                                                                                                    Chapter            13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                                 $4,100.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                       $0.00
     Balance Due..............................................................................................................................................................
                                                                                                                                                 $4,100.00

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                    03/09/2022                        /s/ Karla P. Griffin
                       Date                           Karla P. Griffin                           Bar No. 24074659
                                                      Karla P. Griffin Law Firm, PC
                                                      1123 E. Rio Grande
                                                      El Paso, Texas 79902
                                                      Phone: (915) 562-4357 / Fax: (866) 201-0967




   /s/ Federico Cortez, Jr                                         /s/ Sonia Garcia-Anaya
   Federico Cortez, Jr                                             Sonia Garcia-Anaya
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                                      UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF TEXAS
                                               EL PASO DIVISION
  IN RE:   Federico Cortez, Jr                                                      CASE NO
           Sonia Garcia-Anaya
                                                                                   CHAPTER    13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/9/2022                                           Signature   /s/ Federico Cortez, Jr
                                                                    Federico Cortez, Jr




Date 3/9/2022                                           Signature   /s/ Sonia Garcia-Anaya
                                                                    Sonia Garcia-Anaya
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                            Brand Source/Citi Bank
                            Attn: Bankruptcy
                            PO Box 6403
                            Sioux Falls, SD 57117


                            Brazos Education Foundation
                            Attn: Bankruptcy
                            2600 Washington Ave
                            Waco, TX 76710


                            Chase Card Services
                            Attn: Bankruptcy
                            P.O. 15298
                            Wilmington, DE 19850


                            Citibank/The Home Depot
                            Citicorp Credit Srvs/Centralized Bk dept
                            PO Box 790034
                            St Louis, MO 63179


                            Citizens State Bank/fl
                            P O Box 143060
                            Gainesville, FL 32614



                            Comenity Bank/Pier 1
                            Attn: Bankruptcy
                            PO Box 182125
                            Columbus, OH 43218


                            Conn's HomePlus
                            2445 Technology Forest Boulevard
                            Building 4, Suite 800
                            The Woodlands, TX 77381


                            Credit Systems International, Inc
                            Attn: Bankruptcy
                            PO Box 1088
                            Arlington, TX 76004


                            Freedom Plus
                            Attn: Bankruptcy
                            PO Box 2340
                            Phoenix, AZ 85002
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                            GECU
                            PO Box 20998
                            El Paso, TX 79998-0998



                            Internal Revenue Service
                            Centralized Insolvency Operations
                            PO Box 7346
                            Philadelphia, PA 19101-7346


                            Karla P. Griffin Law Firm, P.C.
                            1123 E. Rio Grande
                            El Paso, Texas 79902



                            Liftfund
                            2007 W Martin St
                            San Antonio, TX 78207



                            Loancare, Cit Bank,
                            Attn: Consumer Solutions Dept
                            PO Box 8068
                            Virginia Beach, VA 23452


                            Macys/fdsb
                            Attn: Bankruptcy
                            9111 Duke Boulevard
                            Mason, OH 45040


                            Nelnet
                            Attn: Bankruptcy Claims
                            PO Box 82505
                            Lincoln, NE 68501


                            Pentagon Federal credit Union
                            Attn: Bankruptcy
                            PO Box 1432
                            Alexandria, VA 22313


                            Quick Bridge Funding
                            410 Exchange Suite 150
                            Irvine, CA 92602
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                            Regional Finance
                            979 Batesville Rd
                            Greer, SC 29651



                            Stuart C. Cox, Trustee
                            1760 North Lee Trevino
                            El Paso, TX 79936



                            Superior Court of California
                            700 Civic Center Dr West
                            Santa Ana, CA 92701



                            Syncb/At Home CC
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            Syncb/Harbor Freight
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            Syncb/JCI Home Design
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            Synchrony Bank
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            Synchrony Bank/Amazon
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            Synchrony Bank/hhgregg
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896
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                            Synchrony Bank/Sams Club
                            Attn: Bankruptcy
                            PO Box 965060
                            Orlando, FL 32896


                            US Bank
                            Attn: Bankruptcy
                            P.O. Box 5229
                            Cincinnati, OH 45201


                            Wells Fargo Bank NA
                            Attn: Wells Fargo Bankruptcy
                            435 Ford Road, Suite 300
                            Saint Lewis Park, MN 55426


                            Wells Fargo Jewelry Advantage
                            Attn: Bankruptcy
                            PO Box 10438
                            Des Moines, IA 50306


                            Westlake Portfolio Management, LLC
                            Attn: Bankruptcy
                            PO Box 76809
                            Los Angeles, CA 90054
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                                          UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF TEXAS
                                                   EL PASO DIVISION
   IN RE: Federico Cortez, Jr                                                            CASE NO
                       Debtor
                                                                                        CHAPTER 13
   SOCIAL SECURITY NO.            xxx-xx-6842


                                  ORDER TO EMPLOYER TO PAY THE TRUSTEE
UPON REPRESENTATIONS OF THE TRUSTEE, OR OTHER INTERESTED PARTIES, THE COURT FINDS THAT:
      The above named debtor has pending in this Court a case for adjustment of debts by an individual with regular income under the
provisions of Chapter 13 of Title 11 U.S.C. and pursuant to the provisions of said statute and of the debtor's plan, the debtor has
submitted all of such portion of the debtor's future earnings or other future income to the supervision and control of the trustee of this
Court as may be necessary for the execution of the debtor's plan; and
      That under the provisions of Title 11 U.S.C., this Court has exclusive jurisdiction of all property including the earnings from such
services performed by the debtor during the pendency of this case pursuant to 11 U.S.C. § 1325(b) any entity from whom the debtor
receives income shall pay all or any part of such income to the trustee as may be ordered by this Court. A portion of the debtor's
earnings are necessary for the execution of the debtor's plan.
      NOW, THEREFORE, IT IS ORDERED that until further order of this Court or until notice that this case has been dismissed or
converted to Chapter 7 of the Bankruptcy Code is received, the employer of said debtor
              Slashsupport, Inc
              5600 Tennyson Pkwy
              Suite 255
              Plano, TX 75024-4039
shall deduct from the earnings of the debtor the sum of                                  $233.08 bi-weekly
beginning on the next payday following the receipt of this order and deduct a similar amount for each pay period thereafter, including any
period for which the debtor receives periodic or lump sum payment for or on account of vacation, termination or other benefits arising
out of present or past employment of the debtor. Employer shall remit forthwith the sums so deducted to the trustee appointed here or
his/her successor in interest as follows:
             STUART C. COX, Chapter 13 Trustee,, 1760 North Lee Trevino Dr., El Paso, TX 79936


      IT IS FURTHER ORDERED, that said employer notify said trustee if the employment of said debtor is terminated and the reason
for such termination.
      IT IS FURTHER ORDERED, that all earnings and wages of the debtor, except the amounts required to be withheld by the
provisions of any laws of the United States, the laws of any state or political subdivision, or by an insurance pension or union dues
agreement between employer and the debtor, or by the order of this Court be paid to the aforesaid debtor in accordance with employer's
usual payroll procedure.
      IT IS FURTHER ORDERED, that no deductions for account of any garnishment, wage assignment, credit union or other purpose
not specifically authorized by this Court be made from the earnings of the debtor.
      IT IS FURTHER ORDERED, that this order supersedes any and all previous orders, if any, made to the subject employer in this
cause.
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 Debtor(s): Federico Cortez, Jr      Case No:                                 WESTERN DISTRICT OF TEXAS
            Sonia Garcia-Anaya        Chapter: 13                                       EL PASO DIVISION


Brand Source/Citi Bank             Internal Revenue Service          Superior Court of California
Attn: Bankruptcy                   Centralized Insolvency Operations 700 Civic Center Dr West
PO Box 6403                        PO Box 7346                       Santa Ana, CA 92701
Sioux Falls, SD 57117              Philadelphia, PA 19101-7346


Brazos Education Foundation        Karla P. Griffin Law Firm, P.C. Syncb/At Home CC
Attn: Bankruptcy                   1123 E. Rio Grande              Attn: Bankruptcy
2600 Washington Ave                El Paso, Texas 79902            PO Box 965060
Waco, TX 76710                                                     Orlando, FL 32896


Chase Card Services                Liftfund                         Syncb/Harbor Freight
Attn: Bankruptcy                   2007 W Martin St                 Attn: Bankruptcy
P.O. 15298                         San Antonio, TX 78207            PO Box 965060
Wilmington, DE 19850                                                Orlando, FL 32896


Citibank/The Home Depot            Loancare, Cit Bank,              Syncb/JCI Home Design
Citicorp Credit Srvs/Centralized   Bk
                                   Attn:
                                      dept
                                         Consumer Solutions Dept    Attn: Bankruptcy
PO Box 790034                      PO Box 8068                      PO Box 965060
St Louis, MO 63179                 Virginia Beach, VA 23452         Orlando, FL 32896


Citizens State Bank/fl             Macys/fdsb                       Synchrony Bank
P O Box 143060                     Attn: Bankruptcy                 Attn: Bankruptcy
Gainesville, FL 32614              9111 Duke Boulevard              PO Box 965060
                                   Mason, OH 45040                  Orlando, FL 32896


Comenity Bank/Pier 1               Nelnet                           Synchrony Bank/Amazon
Attn: Bankruptcy                   Attn: Bankruptcy Claims          Attn: Bankruptcy
PO Box 182125                      PO Box 82505                     PO Box 965060
Columbus, OH 43218                 Lincoln, NE 68501                Orlando, FL 32896


Conn's HomePlus                    Pentagon Federal credit Union    Synchrony Bank/hhgregg
2445 Technology Forest Boulevard   Attn: Bankruptcy                 Attn: Bankruptcy
Building 4, Suite 800              PO Box 1432                      PO Box 965060
The Woodlands, TX 77381            Alexandria, VA 22313             Orlando, FL 32896


Credit Systems International, Inc Quick Bridge Funding              Synchrony Bank/Sams Club
Attn: Bankruptcy                  410 Exchange Suite 150            Attn: Bankruptcy
PO Box 1088                       Irvine, CA 92602                  PO Box 965060
Arlington, TX 76004                                                 Orlando, FL 32896


Freedom Plus                       Regional Finance                 US Bank
Attn: Bankruptcy                   979 Batesville Rd                Attn: Bankruptcy
PO Box 2340                        Greer, SC 29651                  P.O. Box 5229
Phoenix, AZ 85002                                                   Cincinnati, OH 45201


GECU                               Stuart C. Cox, Trustee           Wells Fargo Bank NA
PO Box 20998                       1760 North Lee Trevino           Attn: Wells Fargo Bankruptcy
El Paso, TX 79998-0998             El Paso, TX 79936                435 Ford Road, Suite 300
                                                                    Saint Lewis Park, MN 55426
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 Debtor(s): Federico Cortez, Jr      Case No:                              WESTERN DISTRICT OF TEXAS
            Sonia Garcia-Anaya        Chapter: 13                                    EL PASO DIVISION


Wells Fargo Jewelry Advantage
Attn: Bankruptcy
PO Box 10438
Des Moines, IA 50306


Westlake Portfolio Management, LLC
Attn: Bankruptcy
PO Box 76809
Los Angeles, CA 90054
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Brand Source/Citi Bank          Internal Revenue Service        Superior Court of California
Attn: Bankruptcy                Centralized Insolvency          700 Civic Center Dr West
PO Box 6403                     Operations                      Santa Ana, CA 92701
Sioux Falls, SD 57117           PO Box 7346
                                Philadelphia, PA 19101-7346

Brazos Education Foundation     Karla P. Griffin Law Firm,      Syncb/At Home CC
Attn: Bankruptcy                P.C.                            Attn: Bankruptcy
2600 Washington Ave             1123 E. Rio Grande              PO Box 965060
Waco, TX 76710                  El Paso, Texas 79902            Orlando, FL 32896


Chase Card Services             Liftfund                        Syncb/Harbor Freight
Attn: Bankruptcy                2007 W Martin St                Attn: Bankruptcy
P.O. 15298                      San Antonio, TX 78207           PO Box 965060
Wilmington, DE 19850                                            Orlando, FL 32896


Citibank/The Home Depot         Loancare, Cit Bank,             Syncb/JCI Home Design
Citicorp Credit                 Attn: Consumer Solutions Dept   Attn: Bankruptcy
Srvs/Centralized Bk dept        PO Box 8068                     PO Box 965060
PO Box 790034                   Virginia Beach, VA 23452        Orlando, FL 32896
St Louis, MO 63179

Citizens State Bank/fl          Macys/fdsb                      Synchrony Bank
P O Box 143060                  Attn: Bankruptcy                Attn: Bankruptcy
Gainesville, FL 32614           9111 Duke Boulevard             PO Box 965060
                                Mason, OH 45040                 Orlando, FL 32896


Comenity Bank/Pier 1            Nelnet                          Synchrony Bank/Amazon
Attn: Bankruptcy                Attn: Bankruptcy Claims         Attn: Bankruptcy
PO Box 182125                   PO Box 82505                    PO Box 965060
Columbus, OH 43218              Lincoln, NE 68501               Orlando, FL 32896


Conn's HomePlus                 Pentagon Federal credit Union   Synchrony Bank/hhgregg
2445 Technology Forest          Attn: Bankruptcy                Attn: Bankruptcy
Boulevard                       PO Box 1432                     PO Box 965060
Building 4, Suite 800           Alexandria, VA 22313            Orlando, FL 32896
The Woodlands, TX 77381

Credit Systems International,   Quick Bridge Funding            Synchrony Bank/Sams Club
Inc                             410 Exchange Suite 150          Attn: Bankruptcy
Attn: Bankruptcy                Irvine, CA 92602                PO Box 965060
PO Box 1088                                                     Orlando, FL 32896
Arlington, TX 76004

Freedom Plus                    Regional Finance                US Bank
Attn: Bankruptcy                979 Batesville Rd               Attn: Bankruptcy
PO Box 2340                     Greer, SC 29651                 P.O. Box 5229
Phoenix, AZ 85002                                               Cincinnati, OH 45201


GECU                            Stuart C. Cox, Trustee          Wells Fargo Bank NA
PO Box 20998                    1760 North Lee Trevino          Attn: Wells Fargo Bankruptcy
El Paso, TX 79998-0998          El Paso, TX 79936               435 Ford Road, Suite 300
                                                                Saint Lewis Park, MN 55426
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Wells Fargo Jewelry Advantage
Attn: Bankruptcy
PO Box 10438
Des Moines, IA 50306


Westlake Portfolio Management,
LLC
Attn: Bankruptcy
PO Box 76809
Los Angeles, CA 90054
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                                       UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF TEXAS
                                                EL PASO DIVISION

  IN RE:   Federico Cortez, Jr                                                     CASE NO.
           Sonia Garcia-Anaya
                                                                                  CHAPTER       13

                                                   Certificate of Service


I hereby certify that as of the date of filing the attached document, I have mailed/delivered a true and correct copy thereof to
each party listed herein as well as all parties listed as receiving electronic mail noticesas well as the Chapter 13 Trustee,
Stuart C. Cox, 1760 N Lee Trevino Dr. El Paso, TX 79936 ans U.S Trustee, 615 E. Houston, Suite 533, San Antonio, Texas
78205

Date:      3/9/2022                                              /s/ Karla P. Griffin
                                                                 Karla P. Griffin
                                                                 Attorney for the Debtor(s)


Brand Source/Citi Bank                        Comenity Bank/Pier 1                            GECU
xxxxxxxxxxxx2731                              xxxxxxxxxxxx7030                                PO Box 20998
Attn: Bankruptcy                              Attn: Bankruptcy                                El Paso, TX 79998-0998
PO Box 6403                                   PO Box 182125
Sioux Falls, SD 57117                         Columbus, OH 43218


Brazos Education Foundation                   Conn's HomePlus                                 Internal Revenue Service
xxxxxxxxxxxx0001                              xxxxx7030                                       Centralized Insolvency Operations
Attn: Bankruptcy                              2445 Technology Forest Boulevard                PO Box 7346
2600 Washington Ave                           Building 4, Suite 800                           Philadelphia, PA 19101-7346
Waco, TX 76710                                The Woodlands, TX 77381


Chase Card Services                           Credit Systems International, Inc               Karla P. Griffin Law Firm, PC
xxxxxxxxxxxx1541                              xxxxx6115                                       1123 E. Rio Grande
Attn: Bankruptcy                              Attn: Bankruptcy                                El Paso, Texas 79902
P.O. 15298                                    PO Box 1088
Wilmington, DE 19850                          Arlington, TX 76004


Citibank/The Home Depot                       Federico Cortez, Jr                             Liftfund
xxxxxxxxxxxx1004                              1501 Lomaland                                   x5174
Citicorp Credit Srvs/Centralized Bk dept      Apt #124                                        2007 W Martin St
PO Box 790034                                 El Paso, TX 79935                               San Antonio, TX 78207
St Louis, MO 63179


Citizens State Bank/fl                        Freedom Plus                                    Loancare, Cit Bank,
xxxxxxxxxxxxx1219                             xxxxxxx9651                                     xxxxxxxxx9970
P O Box 143060                                Attn: Bankruptcy                                Attn: Consumer Solutions Dept
Gainesville, FL 32614                         PO Box 2340                                     PO Box 8068
                                              Phoenix, AZ 85002                               Virginia Beach, VA 23452
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                                 UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF TEXAS
                                          EL PASO DIVISION

  IN RE:   Federico Cortez, Jr                                      CASE NO.
           Sonia Garcia-Anaya
                                                                    CHAPTER      13

                                         Certificate of Service
                                          (Continuation Sheet #1)

Macys/fdsb                           Stuart C. Cox, Trustee                    Synchrony Bank/hhgregg
xxxxxxxxxxxx5465                     1760 North Lee Trevino                    xxxxxxxxxxxx9375
Attn: Bankruptcy                     El Paso, TX 79936                         Attn: Bankruptcy
9111 Duke Boulevard                                                            PO Box 965060
Mason, OH 45040                                                                Orlando, FL 32896


Nelnet                               Superior Court of California              Synchrony Bank/Sams Club
xxxxx0049                            700 Civic Center Dr West                  xxxxxxxxxxxx0307
Attn: Bankruptcy Claims              Santa Ana, CA 92701                       Attn: Bankruptcy
PO Box 82505                                                                   PO Box 965060
Lincoln, NE 68501                                                              Orlando, FL 32896


Nelnet                               Syncb/At Home CC                          US Bank
xxxxx0149                            xxxxxxxxxxxx3105                          xxxxx7011
Attn: Bankruptcy Claims              Attn: Bankruptcy                          Attn: Bankruptcy
PO Box 82505                         PO Box 965060                             P.O. Box 5229
Lincoln, NE 68501                    Orlando, FL 32896                         Cincinnati, OH 45201


Pentagon Federal credit Union        Syncb/Harbor Freight                      Wells Fargo Bank NA
xxxxxxx6965                          xxxxxxxxxxxx6484                          xxxxxxxxxxxx9534
Attn: Bankruptcy                     Attn: Bankruptcy                          Attn: Wells Fargo Bankruptcy
PO Box 1432                          PO Box 965060                             435 Ford Road, Suite 300
Alexandria, VA 22313                 Orlando, FL 32896                         Saint Lewis Park, MN 55426


Quick Bridge Funding                 Syncb/JCI Home Design                     Wells Fargo Jewelry Advantage
410 Exchange Suite 150               xxxxxxxxxxxx7416                          xxxxxxxxxxxx6533
Irvine, CA 92602                     Attn: Bankruptcy                          Attn: Bankruptcy
                                     PO Box 965060                             PO Box 10438
                                     Orlando, FL 32896                         Des Moines, IA 50306


Regional Finance                     Synchrony Bank                            Westlake Portfolio Management, LLC
xxxxxx5912                           xxxxxxxxxxxx1477                          xxx0297
979 Batesville Rd                    Attn: Bankruptcy                          Attn: Bankruptcy
Greer, SC 29651                      PO Box 965060                             PO Box 76809
                                     Orlando, FL 32896                         Los Angeles, CA 90054


Sonia Garcia-Anaya                   Synchrony Bank/Amazon
1501 Lomaland                        xxxxxxxxxxxx4023
Apt #124                             Attn: Bankruptcy
El Paso, TX 79935                    PO Box 965060
                                     Orlando, FL 32896
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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           Federico                                      Cortez, Jr                 According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2            Sonia                                        Garcia-Anaya                  1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                 under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                        $506.18                 $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                  $4,591.33                $0.00
     deductions)
     Ordinary and necessary operating      –     $4,530.17    –           $0.00
     expenses                                                                     Copy
     Net monthly income from a business,             $61.16               $0.00 here             $61.16                $0.00
     profession, or farm




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Debtor 1         Federico Cortez, Jr
Debtor 2         Sonia Garcia-Anaya                                                                                                  Case number (if known)

                                                                                                                                          Column A        Column B
                                                                                                                                          Debtor 1        Debtor 2 or
                                                                                                                                                          non-filing spouse

6.    Net income from rental and other real property

                                                               Debtor 1                       Debtor 2
      Gross receipts (before all                                            $0.00                          $0.00
      deductions)
      Ordinary and necessary operating                     –                $0.00         –                $0.00
      expenses                                                                                                          Copy
      Net monthly income from rental or                                     $0.00                          $0.00 here                             $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                          $0.00            $0.00
8.    Unemployment compensation                                                                                                                   $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                       $0.00            $0.00
      was a benefit under the Social Security Act. Also, except as stated in the
      next sentence, do not include any compensation, pension, pay, annuity, or
      allowance paid by the United States Government in connection with a
      disability, combat-related injury or disability, or death of a member of the
      uniformed services. If you received any retired pay paid under chapter 61
      of title 10, then include that pay only to extent that it does not exceed the
      amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments made under the Federal law relating to the national emergency
    declared by the President under the National Emergencies Act
    (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against
    humanity, or international or domestic terrorism; or compensation, pension,
    pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a
    member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.




      Total amounts from separate pages, if any.                                                                                   +                      +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $567.34   +        $0.00   =       $567.34
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                              Total average
                                                                                                                                                                              monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                            $567.34
12. Copy your total average monthly income from line 11. ..............................................................................................................................................




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Debtor 1        Federico Cortez, Jr
Debtor 2        Sonia Garcia-Anaya                                                                                                     Case number (if known)

13. Calculate the marital adjustment. Check one:
           You are not married. Fill in 0 below.
           You are married and your spouse is filing with you. Fill in 0 below.
           You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
           of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
           than you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.




                                                                                                                     +
           Total......................................................................................................................      $0.00           Copy here                                –                 $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                      $567.34

15. Calculate your current monthly income for the year. Follow these steps:

    15a.     Copy line 14 here                                                                                                                                                                                     $567.34
                                                  ...................................................................................................................................................................................

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                    X         12

    15b.                                                                                                                                                             $6,808.08
             The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.     Fill in the state in which you live.                                                             Texas

    16b.     Fill in the number of people in your household.                                                       3

    16c.                                                                                                                                                              $77,110.00
             Fill in the median family income for your state and size of household......................................................................................................................
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.             Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                     under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.             Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                     11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                     On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:          Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                           $567.34
                                                                                                  ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                              –                $0.00
             If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.     Subtract line 19a from line 18.                                                                                                                                                                      $567.34




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Debtor 1      Federico Cortez, Jr
Debtor 2      Sonia Garcia-Anaya                                                                                            Case number (if known)

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                                $567.34
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                             X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                 $6,808.08

    20c.                                                                                                                                                 $77,110.00
            Copy the median family income for your state and size of household from line 16c. .........................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.

 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.



    X   /s/ Federico Cortez, Jr                                                                            X    /s/ Sonia Garcia-Anaya
        Federico Cortez, Jr, Debtor 1                                                                           Sonia Garcia-Anaya, Debtor 2

        Date 3/9/2022                                                                                           Date 3/9/2022
             MM / DD / YYYY                                                                                          MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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